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              1    STEVEN T. GUBNER - Bar No. 156593
                   RICHARD D. BURSTEIN - Bar No. 56661
              2    EZRA BRUTZKUS GUBNER LLP                                               FILED & ENTERED
                   21650 Oxnard Street, Suite 500
              3    Woodland Hills, CA 91367
                   Telephone: (818) 827-9000                                                  OCT 06 2011
              4    Facsimile: (818) 827-9099
                   Email:     sgubner@ebg-law.com
              5               rburstein@ebg-law.com                                        CLERK U.S. BANKRUPTCY COURT
                                                                                           Central District of California
                                                                                           BY gonzalez DEPUTY CLERK
              6    Attorneys for David R. Hagen, Chapter 7 Trustee
              7

              8                                        UNITED STATES BANKRUPTCY COURT
              9                                         CENTRAL DISTRICT OF CALIFORNIA
             10                                          SAN FERNANDO VALLEY DIVISION
             11

             12    In re                                                      Case No. 1:06-bk-10733-GM
             13    MERIDIAN HEALTH CARE MANAGEMENT,                           Chapter 7
                   INC., a Delaware Corporation,
             14                                                               Adv. case no. 1:07-ap-01186-GM
                                       Debtor.
             15
                                                                              ORDER DISMISSING REMAINING
             16    DAVID R. HAGEN, Chapter 7 Trustee,                         CLAIMS FOR RELIEF AND
                                                                              ORDER THAT ADVERSARY CASE
             17                         Plaintiff                             SV07-01186GM BE CLOSED
             18    vs.
                                                                              Date: September 27, 2011
             19    NAUTIC PARTNERS, LLC, etc., et al.                         Time: 10:00 a.m.
                                                                              Place: Courtroom 303
             20                         Defendants                                   United States Bankruptcy Court
                                                                                     21041 Burbank Boulevard
             21                                                                      Woodland Hills, CA 91367
             22

             23              The within adversary proceeding duly came on for a status conference on September 27,

             24    2011, the Honorable Geraldine Mund, United States Bankruptcy Judge presiding. Richard D.

             25    Burstein of Ezra Brutzkus Gubner LLP appeared for David R. Hagen, Chapter 7 Trustee and there

             26    were no other appearances.

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              1              The Court, having considered the Trustee’s Unilateral Status Report and other pleadings and
              2    papers on file and having considered the remarks of counsel and good cause appearing,
              3              It Is Hereby Ordered that any remaining claims for relief of the Trustee and counterclaims for
              4    relief against the estate by Northridge Medical Group, Inc., and Family Seniors Medical Group, Inc.,
              5    which are the only claims for relief remaining unresolved in this adversary proceeding, are dismissed
              6    without prejudice – such claims and counterclaims to be resolved through case closing activity. The
              7    within adversary proceeding may consequently be closed. The pending status conference in this
              8    matter set for November 15, 2011 at 10:00 a.m. shall be off calendar upon entry hereof.
              9

             10    Approved as to form:
             11    Law Offices of Uzzell S. Branson, III

             12
                     /s/ Uzzell S. Branson, III
             13
                By: Uzzell S. Branson, III, Esq.
             14 Attorneys for Northridge Medical Group, Inc.
                and Family Seniors Medical Group, Inc.
             15

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                      DATED: October 6, 2011
             24                                                      United States Bankruptcy Judge

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         1           The Court, having considered the Trustee’s Unilateral Status Report and other pleadings and
         2    papers on file and having considered the remarks of counsel and good cause appearing,
         3           It Is Hereby Ordered that any remaining claims for relief of the Trustee and counterclaims for
         4    relief against the estate by Northridge Medical Group, Inc., and Family Seniors Medical Group, Inc.,
         5    which are the only claims for relief remaining unresolved in this adversary proceeding, are dismissed
         6    without prejudice – such claims and counterclaims to be resolved through case closing activity. The
         7    within adversary proceeding may consequently be closed. The pending status conference in this
         8    matter set for November 15, 2011 at 10:00 a.m. shall be off calendar upon entry hereof.
         9

         10   Approved as to form:
         11   Law Offices of Uzzell S. Branson, III
         12

         13
            By: Uzzell S. Branson, III, Esq.
         14 Attorneys for Northridge Medical Group, Inc.
            and Family Seniors Medical Group, Inc.
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              1     In re: MERIDIAN HEALTH CARE MANAGEMENT, INC.,
                                                                                              CHAPTER 7
                                                                                 Debtor(s).
              2     DAVID R. HAGEN, Chapter 7 Trustee, Plaintiff vs. NAUTIC                   CASE NUMBER 1:06-bk-10733-GM
                    PARTNERS, LLC, etc., et al., Defendants
                                                                                              ADV. CASE NUMBER 1: 07-ap-01186-GM
              3

              4                                    PROOF OF SERVICE OF DOCUMENT
              5    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                   address is: 21650 Oxnard Street, Suite 500, Woodland Hills, California 91367
              6
                   A true and correct copy of the foregoing document described ORDER DISMISSING REMAINING CLAIMS
              7    FOR RELIEF will be served or was served (a) on the judge in chambers in the form and manner required by
                   LBR 5005-2(d); and (b) in the manner indicated below:
              8

              9    I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to
                   controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by
             10    the court via NEF and hyperlink to the document. On       , 2010 I checked the CM/ECF docket for this
                   bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic
             11    Mail Notice List to receive NEF transmission at the email address(es) indicated below:

             12

             13    II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL(indicate method for each person or entity served):
                   On September 29, 2011 I served the following person(s) and/or entity(ies) at the last known address(es) in
             14    this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
                   in the United States Mail, first class, postage prepaid, and/or with an overnight mail service addressed as
             15    follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
                   than 24 hours after the document is filed.
             16

             17                                                                  Service information continued on attached page

             18    III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for
                   each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on            I served the
             19    following person(s) and/or entity(ies) by personal delivery, or (for those who consented in writing to such
                   service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
             20    declaration that personal delivery on the judge will be completed no later than 24 hours after the document is
                   filed.
             21

             22
                   I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and
             23    correct.

             24
                    September 29, 2011                     Jennifer Warner                     /s/ Jennifer Warner
             25     Date                                 Type Name                             Signature

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              1
                    In re: MERIDIAN HEALTH CARE MANAGEMENT, INC.,
                                                                                            CHAPTER 7
              2                                                                Debtor(s).
                    DAVID R. HAGEN, Chapter 7 Trustee, Plaintiff vs. NAUTIC                 CASE NUMBER 1:06-bk-10733-GM
              3     PARTNERS, LLC, etc., et al., Defendants
                                                                                            ADV. CASE NUMBER 1:07-ap-01186-GM

              4

              5    II. SERVED BY U.S. MAIL

              6     Hon. Geraldine Mund                                       Office of the United States Trustee
                    United States Bankruptcy Court                            United States Trustee, Region 16
              7     21041 Burbank Blvd., Suite 342                            21051 Warner Center Lane, Suite 115
                    Woodland Hills, CA 91367                                  Woodland Hills, CA 91367
              8
                    Chapter 7 Trustee                                      Attorneys for Northridge Medical Group, Inc. and
              9     David R. Hagen                                         Family/Seniors Medical Group, Inc.
                    Merritt & Hagen                                        Uzzell S. Branson, III, Esq.
             10     6320 Canoga Avenue, Suite 1400                         Law Offices of Uzzell S. Branson, III
                    Woodland Hills, CA 91367                               301 North Lake Avenue, Ste. 700
             11                                                            Pasadena, CA 91101

             12     Attorneys for Family/Seniors Medical
                    Group, Inc.
             13     Jay D. Christensen, Esq.
                    Stephen G. Auer, Esq.
                    Christensen & Auer
             14
                    225 S. Lake Avenue, Suite 860
                    Pasadena, CA 91101
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                   304650
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              1
                    In re: MERIDIAN HEALTH CARE MANAGEMENT, INC.,
                                                                                               CHAPTER 7
              2                                                                   Debtor(s).
                    DAVID R. HAGEN, Chapter 7 Trustee, Plaintiff vs. NAUTIC                    CASE NUMBER 1:06-bk-10733-GM
              3     PARTNERS, LLC, etc., et al., Defendants                                    ADV. CASE NUMBER 1:07-ap-1186-GM

              4
                                       NOTICE OF ENTERED ORDER AND SERVICE LIST
              5
                   Notice is given by the court that a judgment or order entitled ORDER DISMISSING REMAINING CLAIMS
              6    FOR RELIEF was entered on the date indicated as on the first page of this judgment or order and will be
                   served in the manner indicated below:
              7
                   I. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF) Pursuant to controlling General
              8    Order(s) and Local Bankruptcy Rule(s), the foregoing document was served on the following person(s) by the
                   court via NEF and hyperlink to the judgment or order. As of September 29, 2011, the following person(s) are
              9    currently on the Electronic Mail Notice List for this bankruptcy case or adversary proceeding to receive NEF
                   transmission at the email address(es) indicated below.
             10
                        •    Joshua M Briones joshua.briones@dlapiper.com
             11         •    Peter C Bronson pbronson@pbronsonlaw.com
                        •    Richard D. Burstein rburstein@ebg-law.com; ecf@ebg-law.com
             12         •    Howard Camhi hcamhi@ecjlaw.com
                        •    Laura Kam       laura.kam@dlapiper.com
             13         •    Jennifer L Nassiri jennifer.nassiri@dlapiper.com
                        •    Steven M. Roth steven.m.roth@irscounsel.treas.gov
             14         •    Anahit Tagvoryan ana.tagvoryan@dlapiper.com

             15                                                           Service information continued on attached page

             16    II. SERVED BY THE COURT VIA U.S. MAIL: A copy of this notice and a true copy of this judgment or order
                   was sent by United States Mail, first class, postage prepaid, to the following person(s) and/or entity(ies) at the
             17    address(es) indicated below:

             18     Attorneys for Family/Seniors Medical                    Attorneys for Northridge Medical Group, Inc. and
                    Group, Inc.                                             Family/Seniors Medical Group, Inc.
             19     Jay D. Christensen, Esq.                                Uzzell S. Branson, III, Esq.
                    Stephen G. Auer, Esq.                                   Law Offices of Uzzell S. Branson, III
             20     Christensen & Auer                                      301 North Lake Avenue, Ste. 700
                    225 S. Lake Avenue, Suite 860                           Pasadena, CA 91101
             21     Pasadena, CA 91101

             22                                                           Service information continued on attached page

             23    III. TO BE SERVED BY THE LODGING PARTY: Within 72 hours after receipt of a copy of this judgment or
                   order which bears an Entered stamp, the party lodging the judgment or order will serve a complete copy
             24    bearing an Entered stamp by U.S. Mail, overnight mail, facsimile transmission or email and file a proof of
                   service of the entered order on the following person(s) and/or entity(ies) at the address(es), facsimile
             25    transmission number(s), and/or email address(es) indicated below:

             26
                                                                          Service information continued on attached page
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